                           Case 21-10549-JTD                       Doc 1         Filed 03/10/21             Page 1 of 11



 Fill in this information to identify the case:

 United States Bankruptcy Court for the:

                                  Delaware
 ____________________ District of _________________
                                        (State)
                                                           11
 Case number (If known): _________________________ Chapter _____                                                                   Check if this is an
                                                                                                                                      amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                        04/20

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.




 1.   Debtor’s name                           SC SJ HOLDINGS LLC
                                              ______________________________________________________________________________________________________




 2.   All other names debtor used             ______________________________________________________________________________________________________
      in the last 8 years                     ______________________________________________________________________________________________________
                                              ______________________________________________________________________________________________________
      Include any assumed names,
                                              ______________________________________________________________________________________________________
      trade names, and doing business
      as names                                ______________________________________________________________________________________________________




 3.   Debtor’s federal Employer               XX-XXXXXXX
      Identification Number (EIN)



 4.   Debtor’s address                        Principal place of business                                Mailing address, if different from principal place
                                                                                                         of business

                                              3223         Crow Canyon Road
                                              ______________________________________________             _______________________________________________
                                              Number     Street                                          Number     Street

                                              Suite 300
                                              ______________________________________________             _______________________________________________
                                                                                                         P.O. Box

                                              San Ramon                      CA         94583
                                              ______________________________________________             _______________________________________________
                                              City                        State    ZIP Code              City                      State      ZIP Code

                                                                                                         Location of principal assets, if different from
                                                                                                         principal place of business
                                              Contra Coasta
                                              ______________________________________________
                                              County
                                                                                                          170        S Market St
                                                                                                         _______________________________________________
                                                                                                         Number     Street

                                                                                                         _______________________________________________

                                                                                                          San Jose                   CA          95133
                                                                                                         _______________________________________________
                                                                                                         City                      State      ZIP Code




 5.   Debtor’s website (URL)                  ____________________________________________________________________________________________________




Official Form 201                                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                            page 1
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Debtor         SC SJ HOLDINGS LLC
              _______________________________________________________                         Case number (if known)_____________________________________
              Name




 6.   Type of debtor                       Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                           Partnership (excluding LLP)
                                           Other. Specify: __________________________________________________________________

                                          A. Check one:
 7.   Describe debtor’s business
                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                           None of the above

                                          B. Check all that apply:

                                           Tax-exempt entity (as described in 26 U.S.C. § 501)
                                           Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                             § 80a-3)
                                           Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                          C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                             http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                             7211___ ___ ___
                                             ___

 8.   Under which chapter of the          Check one:
      Bankruptcy Code is the
      debtor filing?                       Chapter 7
                                           Chapter 9
                                           Chapter 11. Check all that apply:
      A debtor who is a “small business
      debtor” must check the first sub-                  The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
      box. A debtor as defined in                             aggregate noncontingent liquidated debts (excluding debts owed to insiders or
      § 1182(1) who elects to proceed                         affiliates) are less than $2,725,625. If this sub-box is selected, attach the most
      under subchapter V of chapter 11                        recent balance sheet, statement of operations, cash-flow statement, and federal
      (whether or not the debtor is a                         income tax return or if any of these documents do not exist, follow the procedure in
      “small business debtor”) must                           11 U.S.C. § 1116(1)(B).
      check the second sub-box.                              The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
                                                              noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                              less than $7,500,000, and it chooses to proceed under Subchapter V of
                                                              Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
                                                              statement of operations, cash-flow statement, and federal income tax return, or if
                                                              any of these documents do not exist, follow the procedure in 11 U.S.C.
                                                              § 1116(1)(B).

                                                             A plan is being filed with this petition.

                                                             Acceptances of the plan were solicited prepetition from one or more classes of
                                                              creditors, in accordance with 11 U.S.C. § 1126(b).

                                                             The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                              Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                              Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                              for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                             The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                              12b-2.
                                           Chapter 12




 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 2
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Debtor           SC SJ HOLDINGS LLC
                _______________________________________________________                      Case number (if known)_____________________________________
                Name



 9.    Were prior bankruptcy cases         No
       filed by or against the debtor
       within the last 8 years?            Yes.    District _______________________ When _______________ Case number _________________________
                                                                                          MM / DD / YYYY
       If more than 2 cases, attach a
       separate list.                               District _______________________ When _______________ Case number _________________________
                                                                                          MM / DD / YYYY

 10.   Are any bankruptcy cases            No
       pending or being filed by a                         FMT SJ LLC                                                 Affiliate
       business partner or an              Yes.    Debtor _____________________________________________ Relationship _________________________
       affiliate of the debtor?                              Delaware
                                                    District _____________________________________________ When                03/05/2021
                                                                                                                              __________________
       List all cases. If more than 1,                                                                                        MM / DD / YYYY
       attach a separate list.
                                                                           21-10521
                                                    Case number, if known ________________________________



 11.   Why is the case filed in this      Check all that apply:
       district?
                                           Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                              immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                              district.

                                           A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.

 12.   Does the debtor own or have         No
       possession of any real              Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
       property or personal property
       that needs immediate                        Why does the property need immediate attention? (Check all that apply.)
       attention?
                                                      It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                       What is the hazard? _____________________________________________________________________

                                                      It needs to be physically secured or protected from the weather.

                                                      It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                       attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                       assets or other options).

                                                      Other _______________________________________________________________________________



                                                   Where is the property?_____________________________________________________________________
                                                                             Number          Street

                                                                             ____________________________________________________________________

                                                                             _______________________________________         _______     ______________
                                                                             City                                            State ZIP Code


                                                   Is the property insured?

                                                      No
                                                      Yes. Insurance agency ____________________________________________________________________

                                                            Contact name     ____________________________________________________________________

                                                            Phone            ________________________________




               Statistical and administrative information




 Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 3
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Debtor
               SC SJ HOLDINGS LLC
              _______________________________________________________                          Case number (if known)_____________________________________
              Name




 13.   Debtor’s estimation of            Check one:
       available funds                    Funds will be available for distribution to unsecured creditors.
                                          After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                          1-49                              1,000-5,000                                25,001-50,000
 14.   Estimated number of                50-99                             5,001-10,000                               50,001-100,000
       creditors
                                          100-199                           10,001-25,000                              More than 100,000
                                          200-999

                                          $0-$50,000                        $1,000,001-$10 million                     $500,000,001-$1 billion
 15.   Estimated assets                   $50,001-$100,000                  $10,000,001-$50 million                    $1,000,000,001-$10 billion
                                          $100,001-$500,000                 $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                          $500,001-$1 million               $100,000,001-$500 million                  More than $50 billion

                                          $0-$50,000                        $1,000,001-$10 million                     $500,000,001-$1 billion
 16.   Estimated liabilities              $50,001-$100,000                  $10,000,001-$50 million                    $1,000,000,001-$10 billion
                                          $100,001-$500,000                 $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                          $500,001-$1 million               $100,000,001-$500 million                  More than $50 billion


              Request for Relief, Declaration, and Signatures


 WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
            $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


 17.   Declaration and signature of          The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
       authorized representative of
                                             petition.
       debtor
                                             I have been authorized to file this petition on behalf of the debtor.

                                             I have examined the information in this petition and have a reasonable belief that the information is true and
                                             correct.


                                         I declare under penalty of perjury that the foregoing is true and correct.

                                                         03/ 10/ 2021
                                            Executed on _________________
                                                        MM / DD / YYYY


                                              /s/ Neil Demchick
                                             _____________________________________________                Neil Demchick
                                                                                                         _______________________________________________
                                            Signature of authorized representative of debtor             Printed name

                                                   Chief Restructuring Officer
                                            Title _________________________________________




 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                 page 4
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Debtor
              SC SJ HOLDINGS LLC
              _______________________________________________________                     Case number (if known)_____________________________________
              Name




 18.   Signature of attorney
                                         /s/ Justin R. Alberto
                                            _____________________________________________            Date        03    /10/ 2021
                                                                                                                _________________
                                            Signature of attorney for debtor                                    MM    / DD / YYYY



                                            Justin R. Alberto
                                           _________________________________________________________________________________________________
                                           Printed name
                                            Cole Schotz P.C.
                                           _________________________________________________________________________________________________
                                           Firm name
                                            500         Delaware Avenue, Suite 1410
                                           _________________________________________________________________________________________________
                                           Number     Street
                                            Wilmington
                                           ____________________________________________________             DE
                                                                                                           ____________  19801
                                                                                                                        ______________________________
                                           City                                                            State        ZIP Code

                                            (302) 652-3131
                                           ____________________________________                             jalberto@coleschotz.com
                                                                                                           __________________________________________
                                           Contact phone                                                   Email address



                                            5126
                                           ______________________________________________________  DE
                                                                                                  ____________
                                           Bar number                                             State




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                                     RESOLUTIONS OF
                           SC S.T HOLDINGS LLC AND FMT S.T LLC

        FMT SJ Holdings LLC,as sole member(“Member”), and the Managers (defined below),
 of SC SJ HOLDINGS LLC and FMT SJ LLC (the “Companies”),each Delaware limited liability
 companies, adopt the following resolutions (the “Resolutions”).

        WHEREAS, C. Anthony Shippam and Candace R. Corra, with Stewart Management
 Company (located and headquartered at 301 N. Market Street, Wilmington, Delaware), serve as
 independent managers(“Managers”)of the Companies.

         WHEREAS,the Member and Managers are familiar with the facts and information relating
 to, among other things: (i) the Companies’ hotel management agreement, assets, liabilities, and
 liquidity; (ii) the strategic alternatives available to the Companies; and (iii) the potential impacts
 of the foregoing on the Companies’ businesses.

        WHEREAS,the Member and Managers,in consultation with the Companies’ management
and their professional advisors, have, among other things, eveiluated the business alternatives
available to the Companies, including, but not limited to: (i) potential equity, debt and other
financing, and sale;(ii) out-of-court and in-court options; and (iii) options available under chapter
11 of Title 11 of the United States Code (the “Bankruptcy Code”)(collectively, the “Options”).

       WHEREAS, the Member and Managers have the power and authority to approve any of
the Options or any other strategic alternatives available to the Companies.

        WHEREAS, the Member and Managers have determined, in their judgment, that the
Companies’ filing voluntary chapter 11 petitions in order to avail themselves of applicable law,
including the bankruptcy laws, is in the best interests of the Companies, their creditors, and other
interested parties; and that the choice of venue (i.e., the District of Delaware),reflects the preferred
venue choice of the Member, the Managers, and the Companies.

        NOW,THEREFORE,BE IT:

         RESOLVED,that the Companies shall be and hereby are authorized to file or cause to be
filed, for each Company, a voluntary petition for relief under chapter 11 of the Bankruptcy Code
in the United States Bankruptcy Court for the District of Delaware (when filed, the “Chapter 11
Case”); and it is

         FURTHER RESOLVED that any officer (or legally authorized individual duly acting on
behalf) of the Companies, including the Chief Restructuring Officer authorized hereunder (each,
an “Authorized Officer”), acting alone or with one or more other Authorized Officers (though in
consultation with the Member), is hereby authorized, empowered and directed to execute and file
on behalf of the Companies all petitions, motions, pleadings, applications, exhibits, schedules,
lists, and other papers,instruments, or documents,and take and perform any and all further actions
and steps that they deem necessary, desirable, and proper to obtain such relief, including, without
limitation, any action necessary, appropriate, or desirable to maintain or improve the operation of



                                                  1
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 the Companies’ business, and to cause the same to be filed in the United States Bankruptcy Court
 for the District of Delaware, at such time as the Authorized Officers shall determine; and it is

         FURTHER RESOLVED that, in the interest of clarity, the Authorized Officers are
 authorized to reject and terminate any or all contracts with non-debtor parties to which the
 Companies are or would allegedly be subject to, including the Amended and Restated Hotel
 Management Agreement, dated December 2, 2005, as amended or otherwise modified from time
 to time; and it is

        FURTHER RESOLVED, that the retention by the Companies of the law firm of Pillsbury
Winthrop Shaw Pittman LLP (“Pillsbury”) as bankruptcy counsel to represent and assist the
Companies in carrying out its duties under chapter 11 of the Bankruptcy Code, and to take any and
all actions necessary to advance the Companies’ rights in connection therewith, including filing
any pleadings, is approved and ratified, and each of the Authorized Officers, with power of
delegation, is hereby authorized and directed to execute and ratify appropriate retention
agreements, pay appropriate retainers, and to cause to be filed an appropriate application for
authority to retain Pillsbury; and it is

        FURTHER RESOLVED, that the retention by the Companies of the law firm of Cole
Schotz P.C.(“Cole Schotz”) as local counsel to represent and assist the Companies in carrying out
its duties under chapter 11 of the Bankruptcy Code, and to take any and all actions necessary to
advance the Companies' rights in connection therewith, including filing any pleadings, is approved
and ratified, and each of the Authorized Officers, with power of delegation, is hereby authorized
and directed to execute and ratify appropriate retention agreements, pay appropriate retainers, and
to cause to be filed an appropriate application for authority to retain Cole Schotz; and it is

       FURTHER RESOLVED, that the hiring and engagement of Neil Demchick and Verity
LLC (“Verity”), located in Baltimore, Maryland, as Chief Restructuring Officer (“CRO”) to
provide CRO,financial advisory, and related services to the Companies is approved, and that the
CRO (in consultation with the Member) is authorized to retain additional personnel to assist the
CRO,in connection with the Chapter 11 Case; and it is

        FURTHER RESOLVED, that in consultation with the Member, each of the Authorized
Officers is authorized and empowered to employ on the Companies’ behalf other professionals
necessary to assist the Companies in carrying out its duties under the Bankruptcy Code; and in
connection therewith, each of the Authorized Officers is, in consultation with the Member and
with power of delegation, hereby authorized and directed to execute appropriate retention
agreements and cause to be filed appropriate applications with the bankruptcy court for authority
to retain the services of any other professionals, as necessary, and on such terms as are deemed
necessary, desirable, and proper; and it is

        FURTHER RESOLVED, that in addition to the specific authorizations heretofore
conferred upon the Authorized Officers, each of the Authorized Officers (and their designees and
delegates) hereby is authorized and empowered (in consultation with the Member),in the name of
and on behalf of the Companies, to take or cause to be taken any and all such other and further
action, and to execute, acknowledge, deliver, and file any and all such agreements, certificates.



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instruments, and other documents and to pay all expenses, including but not limited to filing fees,
in each case as in such Authorized Officer or Authorized Officers’ judgment, shall be necessary,
appropriate, or desirable in order to fully carry out the intent and accomplish the purposes of the
Resolutions adopted herein; and it is

        FURTHER RESOLVED,that any and all actions heretofore taken by any of the Authorized
Officers or the Member and Managers in the name and on behalf of the Companies in furtherance
of the purpose and intent of any or all of the foregoing Resolutions are hereby ratified, confirmed,
and approved in all respects.

      IN WITNESS WHEREOF,the undersigned, being all the Member and Managers of the
Companies, hereby execute these Resolutions.

                                              MEMBER:

                                             FMT SJ HOLDINGS LLC,
                                             a Delaware limited liability company

                                             By:      Eagle Canyon Capital, LLC
                                                      a Delaware limited liability company
                                                      its sole member



                                                     By:_
                                                             Sam Hirbod
                                                             President


                                             IWEPENDENT MANAGERS




                                                Anthony Shippam



                                             Candace R. Corra




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      Fill in this information to identify the case:

      Debtor name     SC SJ Holdings
      United States Bankruptcy Court for the:                             District of Delaware

      Case number (If known):    21-
                                                                                  (State)
                                                                                                                                               Check if this is an
                                                                                                                                                   amended filing




    Official Form 204
    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest
    Unsecured Claims and Are Not Insiders                                                                                                                       12/15

    A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
    disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
    secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20
    largest unsecured claims.


     Name of creditor and complete               Name, telephone number, and     Nature of the claim   Indicate if     Amount of unsecured claim
     mailing address, including zip code         email address of creditor       (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                                 contact                         debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in
                                                                                 professional          unliquidated,   total claim amount and deduction for value of
                                                                                 services, and         or disputed     collateral or setoff to calculate unsecured claim.
                                                                                 government
                                                                                 contracts)
                                                                                                                       Total claim, if    Deduction for       Unsecured
                                                                                                                       partially          value of            claim
                                                                                                                       secured            collateral or
                                                                                                                                          setoff

1    Accor/Fairmont Hotel Resorts
     155 Wellington Street West                 Barbara Kilner
                                                                                                       Unliquidated,
     Suite 3300                                 P: 416-874-2859                 Contract                                                                       $1,979,070
                                                                                                       Disputed
     Toronto, ON M5V 0C3                        Barbara.Kilner@accor.com
     Canada

2    Accor/Fairmont Hotel Resorts
     155 Wellington Street West                 Barbara Kilner                                         Contingent,
     Suite 3300                                 P: 416-874-2859                 Contract               Unliquidated,                                           $1,500,000
     Toronto, ON M5V 0C3                        Barbara.Kilner@accor.com                               Disputed
     Canada

3                                               Nora Frimann, City Attorney
     City of San Jose
                                                P: 408-535-1900
     200 E Santa Clara St                                                       Government                                                                     $1,063,305
                                                cao.main@sanjoseca.gov
     San Jose, CA 95113




    Official Form 204            Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                      page 1
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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

 In re                                             Chapter 11

 SC SJ Holdings LLC,                               Case No. 21-______

                        Debtor.



                        CORPORATE OWNERSHIP STATEMENT AND
                          LIST OF EQUITY INTEREST HOLDERS

         Pursuant to Rules 1007(a)(1), 1007(a)(3), and 7007.1 of the Federal Rules of Bankruptcy

Procedure, set forth below are the corporate entities that (i) directly or indirectly own 10% or

more of any class of SC SJ Holdings LLC’s equity interests, as of March 7, 2021; and (ii) their

addresses and nature of equity interests:

            Shareholder                      Address                   Membership Interests
                                                                          Percentage
 FMT SJ Holdings LLC              3223 Crow Canyon Road,            100%
                                  Suite 300 Ran Ramon, CA
                                  94583




62358/0001-40321905v1
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 Fill in this information to identify the case:

 Debtor name         SJ SC Holdings LLC

 United States Bankruptcy Court for the:            DISTRICT OF DELAWARE

 Case number (if known)
                                                                                                                                    Check if this is an
                                                                                                                                    amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                           12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration    Ownership Statement and List of Equity Holders

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          3/10/2021                               X /s/ Neil Demchick
                                                                       Signature of individual signing on behalf of debtor

                                                                       Neil Demchick
                                                                       Printed name

                                                                       Chief Restructuring Officer
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                           Best Case Bankruptcy
59105/0001-20215474v1
